                       IN THE UNITED STATES DISTRICT COURT
                                                                                              FILED
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA                               MAR 12 2020
                                      20-S0-4


INRE:                                            )
RESTRICTIONS ON VISITORS                         )           STANDING ORDER
TO COURTHOUSES                                   )



       The United States District Court for the Eastern District of North Carolina is closely

monitoring the outbreak of the novel coronavirus known as COVID-19 as well as the guidance

issued by the Centers for Disease Control and Prevention ("CDC"). The CDC having advised

people to take precautions, and having noted that the best way to prevent illness is to avoid being

exposed to the virus, it is hereby

       ORDERED by the United States District Court for the Eastern District of North Carolina

that the following persons shall not enter any U.S. Courthouse or U.S. Probation Office in the

Eastern District of North Carolina without prior permission from the Chief Judge:

   •   Persons who have been in any of the following countries or regions within the last 14 days:

       STATE OF WASHINGTON
       NEW ROCHELLE, NEW YORK
       CHINA
       SOUTH KOREA
       JAPAN
       ITALY
       IRAN
       EGYPT
       And any other country or region that is the subject of a Level 3 Travel Health Notice issued
       by the CDC.

   •   Persons who reside or have had close contact with someone who has been in one of the

       countries or regions listed above within the last 14 days;

   •   Persons who have been asked to self-quarantine by any doctor, hospital, or health agency;




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   •   Persons who have been diagnosed with, or have had contact with, anyone who has been

       diagnosed with COVID-19; and

   •   Persons with fever, cough, or shortness of breath.

   It is further ORDERED that the United States Marshal, his Deputies, and the Court Security

Officers shall deny entry to anyone attempting to enter in violation of this Order.

   It is further ORDERED that if you are scheduled or required to appear at a U.S. Courthouse or

U.S. Probation Office in the Eastern District of North Carolina and you are unable to appear

because of the restrictions in this Order, you are directed to proceed as follows:

        •    If you are represented by an attorney, please contact your attorney;

        •    If you are an attorney and you are scheduled to appear in court before a judge, please

             contact the judge' s case manager;

        •    If you are scheduled to meet with a U.S . Probation officer, please contact that officer

             directly;

        •    If you are a juror, call Jury Services at (800) 342-2539 and leave a detailed message;

        •    For Bankruptcy Court matters, please contact the Clerk' s Office at (919) 856-4752;

        •    For Section 341 Meetings of Creditors, please contact the Bankruptcy Administrator' s

             Office at (919) 334-3885 ; and

        •    For District Court matters, please contact the Clerk' s Office at (919) 645-1700.




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       It is further ORDERED that these restrictions will remain in place temporarily until it is

determined to be safe to remove them. This Order shall be updated as further guidance is received.



       SO ORDERED. This the       a day of March, 2020.

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                                             Chief United States District Judge




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